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                                UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA

Case No: 19-md-02913-WHO
Case Name: In Re: Juul Labs, Inc., (San Francisco Unified School District v. Juul (Case No. 20-cv-8117-WHO)

                             TRIAL SHEET, EXHIBIT and WITNESS LIST

 JUDGE:                              PLAINTIFF ATTORNEYS:                    DEFENSE ATTORNEYS:
 William H. Orrick                   Dena Sharp, Andrew Kaufman,             Beth Wilkinson, Moira Penza
                                     Thomas Cartmell, and Kirk Goza          and Brian Stekloff
 TRIAL DATE: 05/09/2023              REPORTER:                               CLERK:
 8:01 a.m. to 1:19 p.m.              Debra Pas                               Jean Davis
 5 hours, 18 minutes

 PLF    DEF TIME
 NO.    NO. OFFERED             ID      REC     DESCRIPTION
            8:01 a.m.                           Court in session (jurors out)
                                                Schedule through the end of trial discussed; objections to
                                                exhibits and scope of inquiry discussed
               8:18 a.m.                        Court in recess
               8:41 a.m.                        Court in session (jurors present)
               8:42 a.m.                        Plaintiff direct examination of Michael Stephen Dorn
                                                (Cartmell)
               10:10 a.m.                       Court in recess
               10:26 a.m..                      Court in session (jurors present)
                                                Plaintiff direct examination of Michael Stephen Dorn
                                                (Cartmell)
               10:55 a.m.                       Defense cross examination of Michael Stephen Dorn
                                                (Penza)
        7215 11:17 a.m.         X               Aptos Middle School report (Published without objection;
                                                not admitted)
        7221 11:25 a.m.         X               School Safety Technology (Published without objection; not
                                                admitted)
        7235 11:36 a.m.         X               Cameras in the Classroom (Published without objection; not
                                                admitted)
        7166 11:46 a.m.         X               State of California Education Code (Published without
                                                objection; not admitted)
        7174 11:47 a.m.         X               New Ordinance Notice (ID only)
               11:52 a.m.                       Court in recess
               12:08 a.m.                       Court in session (jurors present)
                                                Plaintiff redirect of Michael Stephen Dorn (Cartmell)
               12:15 p.m.                       Witness excused
               12:16 p.m.                       Plaintiff direct examination of Robert W. Johnson (Goza)
 3413          1:01 p.m.        X       X       Conditionally admitted



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                                        Case No: 19-md-02913-WHO
Case Name: In Re: Juul Labs, Inc., (San Francisco Unified School District v. Juul (Case No. 20-cv-8117-WHO)
                                             Date: May 9, 2023
      Courtroom Deputy: Jean Davis                 - Court Reporter:      Debra Pas

                              EXHIBIT and WITNESS LIST CONTINUED

 PLF    DEF TIME
 NO.    NO. OFFERED             ID      REC     DESCRIPTION
            1:01 p.m.                           Defense cross examination of Robert W. Johnson
                                                (Stekloff)
               1:09 p.m.                        Plaintiff waives redirect; witness excused
               1:10 p.m.                        Plaintiff rests
               1:11 p.m.                        The Court provides the jurors a rough outline of the
                                                upcoming schedule
               1:12 p.m.                        Jurors excused
               1:13 p.m.                        Attorney conference conducted regarding housekeeping
                                                matters and anticipated objections. Defense rights to raise
                                                Rule 50 motions preserved
               1:19 p.m.                        Court in recess


Plaintiff time at start of   10 hours, 29 minutes
day: Time used 05/09/2023:    2 hours, 50 minutes
Time remaining:               7 hours, 39 minutes

Defendant total time:        27 hours, 48 minutes
Time used 05/09/2023:         1 hour, 5 minutes
Time remaining:              26 hours, 43 minutes




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